Case 2:02-cr-20041-SH|\/| Document 336 Filed 05/17/05 Page 1 of 2 Page|D 446

 

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IN THE UNITED sTATEs DISTRICT coURT ;pd;g_$ g m__ §§
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES oF AMERICA, ) "n ‘ ' lF“-Nq
)
Plaintiff, )
)
vs. ) CR. No. 02-20041-Ma
)
TYRONE JoNES, )
RONALD McNEIL, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DELAY

 

This cause came on for 51 report date on April 21, 2005.
Defense counsel requested a continuance in order to allow for
additional preparation in the case and to allow for the disposition
of the pending Motion.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iV) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and for the disposition of the pending motion outweigh the
need for a speedy trial.

IT IS SO ORDERED this lj& day Of May, 2005.

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vmhameS§m‘w‘ sAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGEW

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This notice confirms a copy of the document docketed as number 336 in
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Honorable Samuel Mays
US DISTRICT COURT

